CaSe 2:17-cV-O4474-S.]O-SK Document 18 Filed 06/30/17 Page 1 of 3 Page |D #:198

Name and address:
Stephen M. Doniger, Esq.
DONIGER BURROUGHS
603 Rose Avenue

Venice, CA 90291

(310) 590-1820

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

LARRY PHILPOT, cAsE NUMBER;
2;17-cv-04474-SJo-3K
v_ PLAINTIFF(S)
FACEBOOK» INC-S et al- REQUEST FoR APPROVAL oF
sUBsTITUTIoN oR wITHDRAWAL
DEFENDANT(S) OF COUNSEL
INSTRUCTIONS

Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-Ol).

Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal Of Counsel" (Form G-Ol), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-Ol Order).

If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-Ol, the attorney may instead tile a regularly noticed motion supported by a more detailed memorandum of
points and authorities

SECTION I - WITHDRAWING ATTORNEY

Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: C. Yong ]eong, Esq. CA Bar Number: 255244

 

Firm or agency: ]EONG & LIKENS, L.C.

 

Address: 1055 W. 7th Street, Suite 2280, Los Angeles, California 90017

 

Telephone Number: 213-688-2001 Fax Number: 213-688-2002

 

 

E-mail: jeong@jeonglil<ens.com; amy.choe@jeonglikens.com; john.baldivia@jeonglikens.com

 

Counsel of record for the following party or parties: Plaintiff Larry Philpot

 

 

 

Other members of the same firm or agency also seeking to withdraw: Amy Choe, Esq.; ]ohn R. Baldivia, Esq.

 

 

 

 

G~01 (06/13) REQUEST FOR APPROVAL OF SUBSTITU'I`ION OR WITHDRAWAL OF COUNSEL Pag@ 1 Of 2

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SECTION II - NEW REPRESENTATION

[:| No new counsel is necessary. The party or parties represented by the attorney(s) seeking to Withdraw Will continue
to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
party or parties in this case, and who is a member in good standing of the Bar of this Court.

[:| The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish t0
proceed pro se, as self-represented litigants.

>< The ar or arties re resented b the attorne (s) seekin to withdraw have retained the followin new counsel,
P tY P P Y Y g g
who is a member in good standing of the Bar of this Court:

Name: Stephen M. Doniger, Esq.; Frank Gregory Casella, Esq.; CA Bar Number: 179314; 301494

 

Firm or agency: DONIGER/ BURROUGHS

 

Address: 603 Rose Avenue, Venice, California 90291

 

Telephone Number: 310-590-1820 Fax Number:

 

 

E-mail: stephen@donigerlawfirm.com; fcasella@donigerlawfirm.com

 

SECTION III - SIGNATURES

WithdrawingAttorney
I am currently counsel of record in this case, and am identified above in Section I as the "Withdrawing Attorney." I have

given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be
allowed to withdraw from this case.

Date: 06/29/2017 Signature: M

Name: C l/é'hg. 760)1?/ 557-

 

 

 

New Attorney ( if applicable)
I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section II. I am a member in good standing of the Bar of this Court.

 

Date: 06/29/2017 Signature: /s/ Stephen M.Doniger

 

 

Name: Stephen M. Doniger, Esq.

 

Partv Represented by WithdrawingAttornev
I am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check ifapplicable):

substitution of counsel as specified above.

m representing myself pro se in this case.

Date: Signature:

 

 

Name: Larry Philpot

 

Title:

 

 

G~Ol (06/13) REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF COUNSEL Page 2 of 2

Case 2:17-cV-O4474-S.]O-SK Document 18 Filed 06/30/17 Page 3 of 3 Page |D #:200

SECTION II - NEW REPRESENTATION

|:\ No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
party or parties in this case, and who is a member in good standing of the Bar of this Court.

E| The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
proceed pro se, as self-represented litigants.

|:>§| The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
who is a member in good standing of the Bar of this Court:

Name: Stephen M. Doniger, Esq.; Frank Gregory Casella, Esq.; CA Bar Number: 179314; 301494

 

Firm or agency: DONIGER / BURROUGHS

 

Address: 603 Rose Avenue, Venice, California 90291

 

Telephone Number: 310-590-1820 Fax Number:

 

 

E-mail: stephen@donigerlawtirm.com; fcasella@donigerlawiirm.com

 

SECTION III - SIGNATURES

WithdrawingAttorng;¢

I am currently counsel of record in this case, and arn identified above in Section I as the "Withdrawing Attorney." I have
given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be
allowed to withdraw from this case,

Date: 06/ 29/ 201 7 Signature:

 

 

Name:

 

New Attorney (if agglicable)
I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section II. I am a member in good standing of the Bar of this Court.

Date: 06/29/2017 Signature: /s/ Stephen M. Doniger

 

 

Name: Stephen M. Doniger, Esq.

 

Party Rggresented ky WithdrawingAttorng_y
l am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check ifapplicable):

substitution of counsel as specified above.

[:] representing myself pro se in this case.

 

 

 

Date: § ` 30 -# / 7 Signature:
\
Name: Larry éHpot
ma !pzmimv=z‘

 

 

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